This is an application for leave to appeal from refusal of a writ of habeas corpus.
Petitioner is imprisoned under sentence of three years for assault. He alleges that he was found not guilty of assault with intent to rape and guilty of "agitation of common assault" which was not on "my indictment by grand jury", and that two of his witnesses were not present in court which he prayed for. The questions of guilt or innocence and the sufficiency of the evidence cannot be retried on habeas corpus. Olewiler v. Brady,185 Md. 341, 344, 44 A.2d 807; Bernard v. Warden of MarylandHouse of Correction, 187 Md. 273, 49 A.2d 737; Copeland v.Wright, 188 Md. 666, 53 A.2d 553. It does not appear that he asked that witnesses be summoned, whether they were summoned, or what they would testify if present. Rountree v. Wright, Warden,189 Md. 292, 55 A.2d 857, just decided. There are no copy of the indictment or docket entries to show that there was no count for common assault.
Application denied, without costs. *Page 731 